Case’6:28-cr-00005-JSS-DCI |

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Middle District of F lorida
Orlando Division

GOVERNMENT EXHIBIT

Exhibit ee ee

Case No.: 6:24-mj-2118-DCI
UNITED STATES OF AMERICA

VS.

MICHAEL SCHEUER

Date Identified:____H—

Page 1 of 7 PagelD 75

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Electronically Certified Court Record

(Cover Page)

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Electronic Certified Document. Directly below the cover page, at the bottom of page 1, you will find
the digital signature bearing the identity and authority of the Clerk. On the left side of each page is
a unique code identifying the electronic certification for this document.

Agency Name: Osceola County Clerk of the Circuit Court

Clerk of the Circuit Court: The Honorable Kelvin Soto, Esq.

Date Issued: 10/25/2024 4:52:40 PM

Unique Reference Number: CAA-CACABBAIBJABCG-BCAJH-FIEEHHBF-
BACGFDG-F

Case Number: 492024DR003949XXXAXA

Case Docket: PETITION FOR INJUNCTION AGAINST STALKING

Requesting Party Code: 20201108190126

Requesting Part

Sein ”  @01.com

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Unique Code : CAA-CACABBAIBJABCG-BCAJH-FIEEHHBF-BACGFDG-F Page 1 of 5

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IN THE CIRCUIT COURT OF THE NINTH JUDICIAL CIRCUIT,
IN AND FOR OSCEOLA COUNTY, FLORIDA

Case No.: 2024 DR3949 HV

Division: DOMESTIC
FILED IN OFFICE
. CLERK OF COURT
Petitioner, OSCEOLA COUNTY, FL
and 10/25/2024 2:55 pm
KELVIN SOTO, ESQ.
MICHAEL SCHEUER CLERK OF CIRCUIT COURT

Respondent, AND COUNTY COMPTROLLER

PETITION FOR INJUNCTION FOR
PROTECTION AGAINST STALKING

1, {fall legal name } a , being sworn,

certify that the following statements are true:

SECTION I. PETITIONER

(This section is about you. It must be completed; however, if you require that your address be
confidential for safety reasons, you should complete and file a Request for Confidential Filing of
Address, Florida Supreme Court Approved Family Law Form [2.980(h), and write confidential in the
space provided on this form for your address and telephone number.)

1. Petitioner resides at the following address: fadaress, city, state, zip code}

{indicate if applicable}

N/A_ Petitioner secks an injunction for protection on behalf ofa minor child, Petitioner is
the parent or legal guardian of {full legal name} N/A ,
a minor child who is living at home.

2. Petitioner's attorney’s name, address, and telephone number is:
NONE
(If you do not have an attomey, write “none.”)

SECTION I. RESPONDENT
(This section is about the person you want to be protected from. It must be completed.)

1. Respondent resides at the following address: {provide last known street address, city, state, and
zip code} 6413 CYPRUS HILL RD., WINTER GARDEN, Fi. 34787

2. Respondent's last known place of employment: Not Provided
Employment address: Not Provided
Working hours of Respondent: Not Provided
3. Physical description of Respondent:
Race: WHITE_ Sex: Malel v emale| Date of Birth: Not Provided
Height: Not Pre Weight: Not Pro Eye Color NctProwdod Hair Color: _Not Provided
Distinguishing marks or scars: Not Provided
Vehicle: (make/model) Not Provided NA Color: NotProvicsd Tag Number: __ Not Provided

Florida Supreme Court Approved Family Law Form 12.980(1), Petition for Injunction fer Protection Against Stalking (08/23)
1

mn Digital! by kelvin soto
aw, Date: 2024.10.25 16:52:42 -04:00
(jp Reason: Electronic Certified Copy
Y Location: 2 Courthouse Square, Kissimmee, FL 34741

ON RECORD WITH OSCEGLA COUNTY CLERK OF THE CIRCUIT COURT.

Unique Code : CAA-CACABBAIBJABCG-BCAJH-FIEEHHBF-BACGFDG-F Page 2 of 5

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4, Other names Respondent goes by (aliases or nicknames):
MIKE

5. Respondent's attorney’s name, address, and telephone number is:

UNKNOWN
(If you do not know whether Respondent has an attorney, write unknown. If Respondent does not have an
attorney, write none.)

SECTION III. CASE HISTORY AND REASON FOR SEEKING PETITION (This section must be
completed.)

1, Has Petitioner ever received or tried to get an injunction for protection against domestic violence
against Respondent in this or any other court?

[1 Yes [¥]_No  Ifyes, what happened in that case? {Include case number, if known}

2. Has Respondent ever received or tried to get an injunction for protection against domestic violence
against Petitioner in this or any other court?

Ll yes No __ If yes, what happened in that case? {Include case number, if known}

3. Describe any other court case that is either going on now or that happened in the past, including
a dissolution of marriage, paternity action, or child support enforcement action, between

Petitioner and Respondent /Include city, state, and case number, if known}:
6:24-MJ-2118 FEDERAL COURT

4, Petitioner is a victim of stalking because Respondent has: {please mark all sections that apply}

a LT Weommites stalking;

b. Mw Previously threatened, harassed, stalked, cyberstalked, or physically abused the
Petitioner;

c CL Threatened to harm Petitioner or family members or individuals closely associated with
Petitioner;

d. [_| intentionally injured or killed a family pet;
e. [1 Used, or threatened to use, against Petitioner any weapons such as guns or knives;

f, [7] Acriminal history involving violence or the threat or violence, if known;
g. CL Another order of protection issued against him or her previously from another
jurisdiction, if known;

h. CT] Destroyed personal property, including, but not limited to, telephones or other
communication equipment, clothing, or other items belonging to Petitioner.

Florida Supreme Court Approved Family Law Form 12.980(¢), Petition for Injunction for Protection Against Stalking (08/23)
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4.

Below is a description of the specific incidents of stalking or cyberstalking: {for cyberstalking,
please include a description of all evidence of contacts andfor threats made by Respondent in
voice messages, texts, emails, or other electronic communication}

On {dates} _, the following incidents of stalking occurred at the following
locations: {the locations may include, but need not be limited to, a home, school, or place of
employment}

SEE ATTACHED STATEMENT

X Please indicate here if you are attaching additional pages to continue these facts.
Additional Information

EL Respondent owns, has, and/or is known to have guns or other weapons. Describe
weapon(s) and where they may be located, if known:

SECTION IV. INJUNCTION {This section must be completed}

Petitioner asks the Court to enter a TEMPORARY INJUNCTION for protection against
stalking that will be in place from now until the scheduled hearing in this matter, which will
immediately restrain Respondent from committing any acts of stalking, and which will provide
any terms the Court deems necessary for the protection of a victim of stalking, including any
injunctions or directives to law enforcement agencies,

Petitioner asks the Court to enter, after a hearing has been held on this petition, a FINAL
JUDGMENT for protection against stalking prohibiting Respondent from committing any acts of
stalking against Petitioner and:

a. prohibiting Respondent from going to or within 500 feet of any place Petitioner lives, or to
any specified place regularly frequented by Petitioner and any named family members or
individuals closely associated with Petitioner:

N/A

b. prohibiting Respondent from going to or within 500 feet of Petitioner’s place(s) of
employment or the school that Petitioner attends: the address of Petitioner's place{s) of
employment and/or school is:_ 2613 BONNETT CREEK RD., LAKE BUENA VISTA, FL 32830

Florida Supreme Court Approved Family Law Form 12.980(t), Petition for Injunction for Protection Against Stalking (08/23)

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PLEASE DO NOT WRITE BELOW THIS LINE OR ON THE BACK OF THIS PAGE.

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Unique Code : CAA-CACABBAIBJABCG-BCAJH-FIEEHHBF-BACGFDG-F Page 5 of 5

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c. prohibiting Respondent from contacting Petitioner by telephone, mail, by e-mail, in writing,
through another person, or in any other manner;

d. ordering Respondent that he or she shall not have in his or her care, custody, possession, or
control any firearm or ammunition;

e. prohibiting Respondent from knowingly and intentionally going to or within 100 feet of
Petitioner’s motor vehicle, whether or not that vehicle is occupied;

3. Petitioner asks the Cowt to enter any other terms it deems necessary to protect Petitioner from
stalking by Respondent.

I UNDERSTAND THAT BY FILING THIS PETITION, I AM ASKING THE COURT TO HOLD
A HEARING ON THIS PETITION, THAT BOTH THE RESPONDENT AND I WILL BE
NOTIFIED OF THE HEARING, AND THAT I MUST APPEAR AT THE HEARING. I
UNDERSTAND THAT IF EITHER RESPONDENT OR I FAIL TO APPEAR AT THE FINAL
HEARING, WE WILL BE

BOUND BY THE TERMS OF ANY INJUNCTION OR ORDER ISSUED AT THAT HEARING.

I HAVE READ EVERY STATEMENT MADE IN THIS PETITION, AND EACH STATEMENT
1S TRUE AND CORRECT. I UNDERSTAND THAT THE STATEMENTS MADE IN THIS
PETITION ARE BEING MADE UNDER PENALTY OF PERJURY, PUNISHABLE AS
PROVIDED IN SECTION 837.02, FLORIDA STATUTES.

THIS PETITION MUST BE SIGNED BY THE PETITIONER BUT IT IS NOT REQUIRED TO
BE NOTARIZED IF IT IS FILED DURING THE SCOPE AND DURATION OF A STATE OF
EMERGENCY DECLARED BY A GOVE!

Dated: 10/25/24

STATE OF FLORIDA

COUNTY OF OSCEOLA
Sworn to (or affirmed) and subscribed before me by means of phys
notarization, this 25 day of OCTOBER 2024 _, by

{Print, type, or stamp commissioned name?)
Personally Known OR ae “
X___ Produced Identification Type of Identification Produced: FL DL EXP: 9/5/22 rom 7

Florida Supreme Court Approved Famfly Law Forma 12.980(t), Petition for Injunction (os Protection Agaiast Stalking (08/23)
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